Case 2:03-cr-20485-SH|\/| Document 312 Filed 08/05/05 Page 1 of 3 Page|D 371

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UNITED sTATEs OF AMERICA, W,’D OF'-`§;;\ =.Js;f?_,gp;.§$
Plaintiff,

vs. CR. NO. 03-20485-06-Ma

ROBER'I‘ PHILLIPS ,

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came on to be heard on August 4, 2005, the United
States Attorney for this district appearing for the Government and
the defendant, Robert Phillips, appearing in person and with
appointed counsel, Mr. Lawrence Kern.

With leave of the Court, the defendant entered a plea of
guilty to Counts 2 and 3 of the Superseding Indictment. Plea
colloquy was held and the Court accepted the guilty plea.

Sentencing in this matter is set for Friday, November 4, 2005
at 10:30 a.m.

The defendant is remanded to the custody of the United States

Marshal.

ENTERED this the H‘L{` day of August, 2005.

SAMUEL H. MAYS, JR.
UNI'I‘ED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 312 in
case 2:03-CR-20485 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

